                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE

   JANE DOE, et. al.,                              )
                                                   )        Case No. 2:23-cv-71
            Plaintiffs,                            )
                                                   )        Judge Travis R. McDonough
   v.                                              )
                                                   )        Magistrate Judge Jill E. McCook
   JOHNSON CITY, TENNESSEE, et al.,                )
                                                   )
            Defendant.                             )
                                                   )


                                               ORDER


           Before the Court is the parties’ joint motion to amend the scheduling order (Doc. 149).

  In the motion, the parties seek an extension by which to file expert disclosures and motions

  relating to class certification. (Id. at 1–2.) Because the parties are in agreement on the proposed

  changes, which will not affect the April 14, 2025 trial date or any other deadline, the Court will

  GRANT the motion and reset the relevant deadlines as follows:

        3. Disclosure and Discovery:

              (d) Expert Testimony: Disclosure of any expert testimony any party seeks to use to
                  meet its burden of proof shall be made on or before August 13, 2024, in
                  accordance with Rules 26(a)(2)(B) and 26(a)(2)(C) of the Federal Rules of Civil
                  Procedure. Disclosure of rebuttal expert testimony shall be made by the parties
                  on or before September 13, 2024. Rebuttal expert testimony challenges the
                  opinions or methods of a previously disclosed expert and is no broader in scope.

        4. Other Scheduling Matters:

              (b) Class Certification: Plaintiffs must file their motion for class certification by
                  October 9, 2024, and Defendant must file its response by November 15, 2024.




Case 2:23-cv-00071-TRM-JEM Document 162 Filed 04/25/24 Page 1 of 2 PageID #: 2469
     All other deadlines remain unchanged.

        SO ORDERED.

                                             /s/ Travis R. McDonough
                                             TRAVIS R. MCDONOUGH
                                             UNITED STATES DISTRICT JUDGE




                                      2
Case 2:23-cv-00071-TRM-JEM Document 162 Filed 04/25/24 Page 2 of 2 PageID #: 2470
